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                                            SCHEDULE A

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-2989-MDL-ALTONAGA/Torres

   In re:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   _________________________________/

                  Central District of California

            KAYALI, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 2:21-00835
            GOSSETT, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 2:21-00837

                  Northern District of California

            WIEG v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 4:21-00693
            DAYS v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 4:21-0696
            DALTON v. ROBINHOOD SECURITIES, LLC, ET AL., C.A. No. 4:21-00697
            KRASOWSKI, ET AL. v. ROBINHOOD FINANCIAL LLC, ET AL.,
                 C.A. No. 4:21-00758
            CEZANA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 4:21-00759
            CHENG, ET AL. v. ALLY FINANCIAL INC., ET AL., C.A. No. 4:21-00781
            CURIEL-RUTH v. ROBINHOOD SECURITIES LLC, ET AL., C.A. No. 4:21-0829
            FEENEY, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00833
            KRUMENACKER v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00838
            MOODY, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00861

                  Southern District of California

            NORDEEN, ET AL. v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 3:21-00167

                  District of Colorado

            DANIELS v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 1:21-00290

                  District of Connecticut

            ZIEGLER v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 3:21-00123
            FRESA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 3:21-00134

                  Middle District of Florida
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         DIAMOND v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 6:21-00207
         SCHAFF v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 8:21-00216
         SCHAFF v. TD AMERITRADE, INC., C.A. No. 8:21-00222
         PERRI, ET AL. v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 8:21-00234

               Northern District of Florida

         BAIRD v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 4:21-00061

               Southern District of Florida

         COURTNEY v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 0:21-60220
         FRAY v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 0:21-60226
         JUNCADELLA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-20414
         SCALIA v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 9:21-80238

               Northern District of Illinois

         GATZ v. ROBINHOOD FINANCIAL, LLC, C.A. No. 1:21-00490
         KAYALI, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 1:21-00510
         LAGMANSON, ET AL. v. ROBINHOOD MARKETS, INC., ET AL.,
              C.A. No. 1:21-00541
         CHERRY v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-00574
         HISCOCK v. TD AMERITRADE, INC., C.A. No. 1:21-00624

               District of New Jersey

         ZYBURA v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 2:21-01348
         MUNCY v. ROBINHOOD SECURITIES, LLC, ET AL., C.A. No. 2:21-01729
         NOORZAIE v. ROBINHOOD MARKETS, INC., ET AL., C.A. No. 3:21-01361

               Southern District of New York

         NELSON v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-00777
         WILLIAMS v. WEBULL FINANCIAL LLC, C.A. No. 1:21-00799

               Eastern District of Pennsylvania

         MINNICK, ET AL. v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 2:21-00489

               Southern District of Texas

         ROSS, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00292
         NG, ET AL. v. ROBINHOOD FINANCIAL, LLC, ET AL., C.A. No. 4:21-00311



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               Eastern District of Virginia

         LAVIN v. ROBINHOOD FINANCIAL LLC, ET AL., C.A. No. 1:21-00115




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